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  Attorneys for WAYMO LLC
                              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA

                Plaintiff,
                                                  DECLARATION OF LINDSAY COOPER
       vs.                                     IN SUPPORT OF PLAINTIFF WAYMO
                                                  LLC’S ADMINISTRATIVE MOTION TO
 UBER TECHNOLOGIES, INC.;                      FILE UNDER SEAL PORTIONS OF
    OTTOMOTTO LLC; OTTO TRUCKING                  EXHIBIT 1 TO WAYMO’S OPPOSITION
 LLC,                                          TO UBER’S SECOND MOTION TO
                                                  COMPEL
                Defendants.

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                                                                     CASE NO. 3:17-cv-00939-WHA
                                     COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 902-1 Filed 07/14/17 Page 2 of 3




 1 I, Lindsay Cooper, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,

 4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set

 5 forth in this Declaration, and if called as a witness I would testify competently to those matters.

 6          2.      I make this declaration in support of Waymo’s Administrative Motion to File Under

 7 Seal Portions of Exhibit 1 to Waymo’s Opposition to Uber’s Second Motion to Compel (the

 8 “Administrative Motion”). The Administrative Motion seeks an order sealing the following materials:

 9                        Document                    Portions to Be Filed          Designating Party
                                                           Under Seal
10           Exhibit 1 to Waymo’s opposition         Green highlighted           Waymo
             to Uber’s second motion to compel       portions
11
             (“Exhibit 1”)
12

13          3.      Exhibit 1 contains the identities of suppliers/vendors with whom Waymo has engaged

14 or considered engaging in furtherance of its highly confidential LiDAR development. Waymo seeks

15 to seal only the identities of those vendors. The public disclosure of this information would give

16 Waymo’s competitors access to the identities of Waymo’s development partners. If such information

17 were made public, I understand that Waymo’s competitive standing would be significantly harmed

18 and that the disclosure itself may violate Waymo’s NDAs with those partners. Waymo’s request to
19 seal is narrowly tailored to only the identities of the vendors.

20          I declare under penalty of perjury under the laws of the State of California that the foregoing is

21 true and correct, and that this declaration was executed in San Francisco, California, on July 14, 2017.

22                                                  By /s/ Lindsay Cooper
                                                       Lindsay Cooper
23                                                     Attorneys for WAYMO LLC
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                                          COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 1                                  SIGNATURE ATTESTATION
 2         Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 3 filing of this document has been obtained from Lindsay Cooper.

 4
                                                 /s/ Charles K. Verhoeven
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                                                   Charles K. Verhoeven
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                                        COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
